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                    8
                                                  UNITED STATES DISTRICT COURT
                    9
                                                 CENTRAL DISTRICT OF CALIFORNIA
                10
                11       TIM BERMEJO, individually, and on            Case No. 2:21-cv-7767
                         behalf of other members of the general
                12       public similarly situated,
                13                               Plaintiff,           DEFENDANT’S NOTICE OF
                                                                      REMOVAL TO FEDERAL COURT
                14                         vs.
                                                                      [28 U.S.C. § 1332(A)]
                15       TIFFANY AND COMPANY, a New
                         York corporation; and DOES 1 through
                16       100, inclusive,
                                                                      Action Filed:   July 27, 2021
                17                               Defendants.
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                    1             TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                    2    DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HIS
                    3    ATTORNEYS OF RECORD:
                    4             PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and
                    5    1446, Defendant Tiffany and Company1 (“Tiffany and Company” or “Defendant”)
                    6    removes the above-entitled action from the Superior Court of the State of California
                    7    for the County of Los Angeles to the United States District Court for the Central
                    8    District of California. This Court has original subject matter jurisdiction under the
                    9    Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. sections 1332(d) and
                10       1453, because minimum diversity exists and the amount in controversy exceeds $5
                11       million.
                12                Removal is based on the following grounds:
                13       I.       PLEADINGS, PROCESS, AND ORDERS
                14                1.       On July 27, 2021, Plaintiff Tim Bermejo (“Plaintiff”) filed an
                15       unverified Complaint in the Los Angeles County Superior Court, entitled Tim
                16       Bermejo v. Tiffany and Company, et al., Case No. 21STCV27417 (“Complaint”).
                17                2.       The Complaint alleges causes of action for (1) unpaid overtime; (2)
                18       failure to provide all meal periods or pay a premium in lieu thereof; (3) failure to
                19       provide all rest breaks or pay a premium in lieu thereof; (4) failure to pay minimum
                20       wage; (5) final wages not timely paid; (6) wages not timely paid during
                21       employment; (7) failure to furnish accurate itemized wage statements; (8) failure to
                22       keep accurate and complete payroll records; (9) failure to reimburse business
                23       expenses; and (10) unfair business practices.
                24                3.       Plaintiff served the Complaint on Tiffany and Company on August 30,
                25       2021. True and correct copies of the Summons, Complaint, and all documents
                26       served with the Complaint are attached as Exhibit A.
                27       1
                          The Complaint improperly names Tiffany and Company as a defendant. Plaintiff
                28       was employed only by Tiffany and Company U.S. Sales, LLC (“Tiffany”). Tiffany
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                         and Company reserves any and all defenses thereto.
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                    1             4.       Plaintiff seeks to represent the following class and/or subclasses during
                    2    the period from July 27, 2017 to the present:
                    3                       “All current and former hourly-paid or non-exempt employees who
                    4                         worked for any of the Defendants within the State of California at
                    5                         any time during the period from four years preceding the filing of
                    6                         this Complaint to final judgment and who reside in California.”
                    7                       Subclass A: “All class members who received overtime
                    8                         compensation at a rate lower than their respective regular rate of
                    9                         pay because Defendants failed to include all non-discretionary
                10                            bonuses or other incentive-based compensation in the calculation of
                11                            the regular rate of pay for overtime pay purposes.”
                12       See Ex. A, Compl. (“Compl.”) ¶ 13.
                13                5.       On September 29, 2021, Tiffany and Company filed and served its
                14       Answer to the Complaint in Los Angeles County Superior Court. A true and
                15       correct copy of the Answer is attached as Exhibit B.
                16                6.       Exhibits A and B constitute all the pleadings, process, and orders
                17       served upon or by Tiffany and Company, or filed to Tiffany and Company’s
                18       knowledge to date, in the Superior Court action.
                19       II.      THE REMOVAL IS TIMELY.
                20                7.       This Notice of Removal is timely filed, pursuant to 28 U.S.C. 1446(b),
                21       because it is filed and served within thirty days of Tiffany and Company’s receipt
                22       of Plaintiff’s Complaint. See 28 U.S.C. § 1446(b)(1) (“The notice of removal of a
                23       civil action or proceeding shall be filed within 30 days after the receipt by the
                24       defendant, through service or otherwise, of a copy of the initial pleading setting
                25       forth the claim for relief upon which such action or proceeding is based . . . .”).
                26       Plaintiff served his Complaint on Tiffany and Company on August 30, 2021.
                27                8.       No previous Notice of Removal has been filed or made with this Court
                28       for the relief sought herein.
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                    1    III.     THIS COURT HAS ORIGINAL SUBJECT MATTER JURISDICTION
                                  UNDER CAFA.
                    2
                    3             9.       This lawsuit is a civil action within the meaning of the Acts of
                    4    Congress relating to removal of class actions. See 28 U.S.C. § 1453.
                    5             10.      This action is brought by Plaintiff as a putative class action on behalf
                    6    of a proposed class of more than 100 individuals. As such, this matter is a
                    7    “purported class action” as that term is defined pursuant to CAFA.
                    8             11.      The Complaint could have been filed in this Court under 28 U.S.C.
                    9    § 1332(d) because this matter is brought as a class action under California Code of
                10       Civil Procedure § 382, diversity of citizenship exists between one or more members
                11       of the putative class and Tiffany and Company, and, accepting Plaintiff’s
                12       allegations only for the purposes of this removal, the amount in controversy
                13       exceeds, in the aggregate, $5,000,000, exclusive of interests and costs. Removal
                14       therefore is proper pursuant to 28 U.S.C. §§ 1446 and 1453.2
                15                A.       Diversity Of Citizenship Exists.
                16                12.      To satisfy CAFA’s diversity requirement, a party seeking removal
                17       need only show that minimal diversity exists, that is, that one putative class
                18       member is a citizen of a state different from that of one defendant. 28 U.S.C.
                19       § 1332(d)(2); United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus.
                20       & Serv. Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087,
                21       1090–91 (9th Cir. 2010) (finding that to achieve its purposes, CAFA provides
                22       expanded original diversity jurisdiction for class actions meeting the minimal
                23       diversity requirement set forth in 28 U.S.C. § 1332(d)(2)).
                24
                25
                26       2
                           Tiffany and Company does not concede and reserves the right to contest, at the
                27       appropriate time, Plaintiff’s allegations that this action can properly proceed as a
                         class or representative action. Tiffany and Company further does not concede the
                28       merits of any of Plaintiff’s allegations or that they constitute a cause of action under
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                         applicable California law.
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                    1             13.      Here, all requirements are met because Plaintiff is a citizen of
                    2    California and Tiffany and Company is a citizen of New York. Thus, minimal
                    3    diversity exists and removal is proper.
                    4                      1.    Plaintiff Is A Citizen of California.
                    5             14.      Plaintiff is, and was at the time he filed the Complaint, a citizen of the
                    6    State of California. “An individual is a citizen of the state in which he is domiciled
                    7    . . . .” Boon v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002)
                    8    (citing Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For
                    9    purposes of diversity of citizenship jurisdiction, citizenship is determined by the
                10       individual’s domicile at the time the lawsuit is filed. Armstrong v. Church of
                11       Scientology Int’l, 243 F.3d 546, 546 (9th Cir. 2000) (citing Lew v. Moss, 797 F.2d
                12       747, 750 (9th Cir. 1986)). Domicile is determined by “an individual’s 1) residence
                13       in a state, and 2) his intent to remain indefinitely.” Boon, 229 F. Supp. 2d at 1019.
                14                15.      The Complaint alleges that Plaintiff “is an individual residing in the
                15       State of California, County of Los Angeles.” See Compl. ¶ 5. The Complaint does
                16       not allege that Plaintiff is a citizen of any other state, nor allege that Plaintiff does
                17       not have an intent to remain in California. Plaintiff is therefore a citizen of
                18       California for purposes of removal.
                19                         2.    Tiffany and Company Is Not A Citizen Of California.
                20                16.      Tiffany and Company is, and was at the time of the institution of this
                21       civil action, a corporation formed under the laws of the State of New York with its
                22       headquarters and principal place of business in the State of New York.
                23                17.      For diversity purposes, “a corporation is a citizen of (1) the state under
                24       whose laws it is organized or incorporated; and (2) the state of its ‘principal place
                25       of business.’” Davis v. HSBC Bank Nevada, N.A., 557 F.3d 1026, 1028 (9th Cir.
                26       2009) (citing 28 U.S.C. § 1332(c)(1)). In Hertz Corp. v. Friend, 559 U.S. 77
                27       (2010), the Supreme Court held that a corporation’s principal place of business is
                28       “the place where a corporation’s officers direct, control, and coordinate the
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                    1    corporation’s activities” (i.e., the “nerve center” of the business). Id. at 92-93. The
                    2    Court further described the principal place of business as “the place where the
                    3    corporation maintains its headquarters.” Id. at 93.
                    4             18.      Tiffany and Company’s principal place of business is New York
                    5    because, under Friend, 559 U.S. at 93, its “nerve center” is located in the State of
                    6    New York. Tiffany and Company’s corporate headquarters is located in New York,
                    7    New York. The majority of Tiffany and Company’s administrative functions,
                    8    corporate books, and records are in New York, New York. Id. Therefore, Tiffany
                    9    and Company is a citizen of the State of New York under the “nerve center” test
                10       and based on its state of incorporation.
                11                19.      Although Plaintiff has listed one hundred fictitiously-named “Doe”
                12       Defendants, the citizenship of these “Doe” Defendants is disregarded for purposes
                13       of removal. 28 U.S.C. § 1441(a); Newcombe v. Adolf Coors Co., 157 F.3d 686,
                14       690-91 (9th Cir. 1998) (for removal purposes, the citizenship of defendants sued
                15       under fictitious names shall be disregarded).
                16                20.      Therefore, because Plaintiff and Tiffany and Company are not
                17       residents of the same state, diversity of citizenship exists under CAFA. See 28
                18       U.S.C. § 1332(d)(2)(A) (requiring only “minimal diversity” under which “any
                19       member of a class of plaintiffs is a citizen of a State different from any defendant”).
                20                B.       The Proposed Class Membership is Sufficiently Large.
                21                21.      CAFA’s requirement that proposed class membership be no less than
                22       100 (28 U.S.C. §1332(d)(5)) is satisfied here because the putative class has more
                23       than 100 members.
                24                22.      In the alleged Classes and/or Subclasses, Plaintiff seeks to represent all
                25       “current and former hourly-paid or non-exempt employees who worked for any of
                26       the Defendants within the State of California at any time during the period from
                27       four years preceding the filing of this Complaint to final judgment and who reside
                28       in California.” See Compl. ¶ 13. According to Tiffany and Company U.S. Sales,
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                    1    LLC’s (“Tiffany”) business records, Tiffany employed at least 1,000 non-exempt
                    2    employees in California during the period from July 1, 2017 to August 1, 2021.
                    3    Thus, the putative class contains more than 100 members.
                    4             C.       The Amount In Controversy Exceeds $5,000,000.
                    5             23.      Pursuant to CAFA, the claims of the individual members in a class
                    6    action are aggregated to determine if the amount in controversy exceeds
                    7    $5,000,000, exclusive of interest and costs. 28 U.S.C. § 1332(d)(6). Because
                    8    Plaintiff does not expressly plead a specific amount of class damages, Tiffany and
                    9    Company needs only to show it is more likely than not that the amount in
                10       controversy exceeds $5 million. See Singer v. State Farm Mut. Auto. Ins. Co., 116
                11       F.3d 373, 376 (9th Cir. 1997). Tiffany and Company’s burden to establish the
                12       amount in controversy is by a preponderance of the evidence. Dart Cherokee Basin
                13       Operating Company, LLC v. Owens, 135 S. Ct. 547 (2014); see also Jordan v.
                14       Nationstar Mortg., LLC, 781 F.3d 1178, 1183 (9th Cir. 2015) (citing Dart for the
                15       proposition that there is no anti-removal presumption against CAFA cases). A
                16       removing party seeking to invoke CAFA jurisdiction “need include only a plausible
                17       allegation that the amount in controversy exceeds the jurisdictional threshold.”
                18       Dart, 135 S. Ct. at 554.
                19                24.      “[A] removing defendant is not obligated to research, state and prove
                20       the plaintiff’s claims for damages.” Sanchez v. Russell Sigler, Inc., 2015 WL
                21       12765359, *2 (C.D. Cal. April 28, 2015) (citation omitted); see also LaCross v.
                22       Knight Transportation Inc., 775 F.3d 1200, 1203 (9th Cir. 2015) (rejecting
                23       plaintiff’s argument for remand based on the contention that the class may not be
                24       able to prove all amounts claimed: “Plaintiffs are conflating the amount in
                25       controversy with the amount of damages ultimately recoverable”); Ibarra v.
                26       Manheim Invs., Inc., 775 F.3d 1193, 1198 n.1 (9th Cir. 2015) (in alleging the
                27       amount in controversy, defendants “are not stipulating to damages suffered, but
                28       only estimating the damages in controversy”). The ultimate inquiry is what amount
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                    1    is put “in controversy” by the plaintiff’s complaint, not what a defendant will
                    2    actually owe. LaCross, 775 F.3d at 1202 (citation omitted) (explaining that courts
                    3    “first look to the complaint in determining the amount in controversy”).
                    4             25.      Under Dart, a removing defendant is not required to submit evidence
                    5    in support of its removal allegations. Salter v. Quality Carriers, Inc., 974 F.3d 959,
                    6    964 (9th Cir. 2020) (“[A] removing defendant’s notice of removal need not contain
                    7    evidentiary submissions but only plausible allegations of jurisdictional elements.”)
                    8    (internal quotations omitted) (emphasis added). The removal allegations “may rely
                    9    on ‘a chain of reasoning that includes assumptions’ and ‘an assumption may be
                10       reasonable if it is founded on the allegations of the complaint.’” Marano v. Liberty
                11       Mut. Grp., Inc., 2021 WL 129930, at *2 (C.D. Cal. Jan. 14, 2021) (quoting Arias v.
                12       Residence Inn by Marriott, 2019 WL 4148784, at *4 (9th Cir. Sept. 3, 2019)).
                13       Where the plaintiff “could have, but did not, make more specific allegations to
                14       narrow the scale or scope of th[e] controversy,” courts “have assumed 100%
                15       violation rates” based on the complaint’s “sweeping allegations.” Id. at *3. As
                16       detailed below, Tiffany and Company plausibly alleges that the amount in
                17       controversy exceeds $5 million based on Plaintiff’s sweeping allegations, and that
                18       the Court has jurisdiction pursuant to CAFA. Here, the aggregated claims of the
                19       putative class members put into controversy over $5 million in potential damages.
                20       28 U.S.C. § 1332(d)(2).
                21                26.      As explained above, Plaintiff seeks to represent various Classes
                22       consisting of at least 1,000 members. Tiffany and Company has reviewed certain
                23       data concerning the putative class that Plaintiff seeks to represent. Based on the
                24       allegations in the Complaint, Plaintiff has put more than $5 million in controversy
                25       as set forth below, and CAFA removal is appropriate.3
                26       3
                           This Notice of Removal discusses the nature and amount of damages placed at
                27       issue by Plaintiff’s Complaint. Tiffany and Company’s references to specific
                         damage amounts and its citation to comparable cases are provided solely for the
                28       purpose of establishing that the amount in controversy is more likely than not in
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                         excess of the jurisdictional minimum. Tiffany and Company maintains that each of
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                    1                      1.    Plaintiff’s Second Cause of Action For The Failure To
                                                 Provide All Meal Periods Places At Least $877,171 In
                    2                            Controversy.
                    3             27.      Plaintiff seeks to recover meal period premiums for the Class for
                    4    alleged violations of Labor Code Sections 226.7 and 512. Plaintiff alleges that
                    5    Tiffany and Company’s “pattern and practice involved, inter alia, failing to pay
                    6    them for … missed meal periods… in violation of California law.” Compl. ¶ 25.
                    7    Plaintiff further alleges that “During the relevant time period, Defendants
                    8    intentionally and willfully required Plaintiff and the other class members to work
                    9    during meal periods and failed to compensate Plaintiff and the other class members
                10       the full meal period premium for work performed during meal periods.” Compl. ¶
                11       63.
                12                28.      Thus, taking as true Plaintiff’s claim that Tiffany and Company did not
                13       provide meal breaks, putative class members would be eligible for one hour of
                14       premium pay for each day worked. See Compl. ¶¶ 59-60. Tiffany and Company
                15       conservatively assumes a violation rate of one missed meal breaks per biweekly pay
                16       period (in other words, once every two weeks). A conservative estimate of the
                17       number of biweekly pay periods worked by current and former employees in the
                18       putative class during the relevant four-year statute of limitations period is
                19       approximately 40,404 pay periods The weighted average hourly rate of pay for
                20       putative class members during the relevant period is approximately $21.71.
                21       Accordingly, the total meal period premiums at issue in Plaintiff’s Second Cause of
                22       Action is at least $877,171 (40,404 pay periods x 1 hour of premium pay x 1 days x
                23       $21.71 = $877,171).
                24
                25
                26       Plaintiff’s claims is without merit and that Tiffany and Company is not liable to
                         Plaintiff or any putative class member. In addition, Tiffany and Company denies
                27       that liability or damages can be established on a class wide basis. No statement or
                         reference contained herein shall constitute an admission of liability or a suggestion
                28       that Plaintiff will or could actually recover any damages based upon the allegations
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                         contained in the Complaint or otherwise.
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                    1                       2.    Plaintiff’s Fifth Cause of Action For Waiting Time Penalties
                                                  Places at Least $3,605,597 In Controversy.
                    2
                                   29.      Plaintiff alleges that Tiffany and Company willfully failed to pay
                    3
                          Plaintiff and the other class members who are no longer employed by Defendant all
                    4
                          allegedly earned and unpaid wages at the time of discharge or within 72 hours of
                    5
                          resignation. Compl. ¶¶ 82-87. Labor Code Section 203 provides that an employer
                    6
                          who willfully fails to timely pay wages to an employee who is discharged or quits,
                    7
                          must pay, as a penalty, the “the wages of the employee . . . from the due date
                    8
                          thereof . . . until paid or until an action therefor is commenced; but the wages shall
                    9
                          not continue for more than 30 days.” Plaintiff alleges that “Defendants engaged in
                10
                          a pattern and practice of wage abuse against their hourly-paid or non-exempt
                11
                          employees …” and that “[t]his pattern and practice involved, inter alia, failing to
                12
                          pay them for all regular and/or overtime wages earned and for missed meal periods
                13
                          and rest breaks…” Compl. ¶ 25. Plaintiff further alleges that “Defendants
                14
                          intentionally and willfully failed to pay Plaintiff and the other class members who
                15
                          are no longer employed by Defendants their wages, earned and unpaid, within
                16
                          seventy-two (72) hours of their leaving Defendants’ employ.” Id. ¶ 84. Plaintiff
                17
                          further alleges “Plaintiff and the other class members are entitled to recover from
                18
                          the Defendants the statutory penalty wages for each day they were not paid, up to a
                19
                          thirty (30) day maximum pursuant to California Labor Code section 203.” Id. ¶ 87.
                20
                                   30.      According to Tiffany’s records, the employment of at least 692
                21
                          putative class members terminated more than 30 days ago and within the three
                22
                          years preceding the filing of Plaintiff’s complaint. Based on Plaintiff’s allegations
                23
                          of the failure to pay terminated non-exempt employees their full wages at the time
                24
                          of discharge, Tiffany and Company may reasonably assume “that each terminated
                25
                          putative class member was entitled to 30 days of continuation wages at 8 hours of
                26
                          standard pay per day.” Oda v. Gucci Am., Inc., 2015 WL 93335, at *4 (C.D. Cal.
                27
                          Jan. 7, 2015); see also Mackall v. Healthsource Glob. Staffing, Inc., 2016 WL
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                    1     4579099 (N.D. Cal. Sept. 2, 2016) (finding that “allegations of willful failure to
                    2     timely pay final wages (based on alleged overtime and meal and rest break
                    3     violations)” support an estimated 100% violation rate for waiting time penalties).
                    4     The putative class members earned a weighted average pay rate of $21.71 per hour.
                    5     Based on Plaintiff’s allegations, the total waiting time penalties at issue is at least
                    6     $3,605,597 ($21.71 pay rate x 8 daily hours x 30 days x 692 terminated employees
                    7     = $3,605,597).
                    8                       3.    Plaintiff’s Seventh Cause of Action For Inaccurate Wage
                                                  Statements Places at Least $993,000 in Controversy.
                    9
                                   31.      Plaintiff alleges that Tiffany and Company failed to provide accurate,
                10
                          itemized wage statements. See Compl. ¶¶ 94-100. Specifically, Plaintiff alleges
                11
                          that “Defendants have intentionally and willfully failed to provide Plaintiff and the
                12
                          other class members with complete and accurate wage statements. These
                13
                          deficiencies include, but are not limited to: the failure to include the total number of
                14
                          hours worked by Plaintiff and the other class members. Id. ¶ 96. Based on these
                15
                          violations, Plaintiff seeks damages under Labor Code § 226(e), including actual
                16
                          damages. Prayer for Relief ¶¶ 40-41.
                17
                                   32.      Labor Code Section 226(e) provides that an employee suffering injury
                18
                          due to an employer’s knowing and intentional failure to provide a compliant wage
                19
                          statement as required by Section 226(a) is entitled to recover fifty dollars ($50) for
                20
                          the initial pay period in which a violation occurs and one hundred dollars ($100)
                21
                          per employee for each violation in a subsequent pay period, not to exceed an
                22
                          aggregate penalty of four thousand dollars ($4,000), plus reasonable attorney’s fees
                23
                          and costs. Labor Code § 226(e); Chen v. Morgan Stanley Smith Barney, LLC, 2014
                24
                          WL 4961182, at *2 (C.D. Cal. Oct. 2, 2014).
                25
                                   33.      Here, during the one-year statute of limitations for a claim for Labor
                26
                          Code Section 226 statutory penalties, putative class members were subject to a bi-
                27
                          weekly pay period and thus issued wage statements on a bi-weekly basis. For the
                28
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                    1     time period of July 27, 2020 to September 8, 2021, Tiffany issued at least
                    2     approximately 10,744 wage statements to approximately 1,226 non-exempt
                    3     employees in California. Assuming a 100% violation rate for inaccurate wage
                    4     statements based on Plaintiff’s allegations, Plaintiff’s Sixth Cause of Action places
                    5     into controversy at least $993,000 in statutory penalties.
                    6              34.      The preponderance of the evidence demonstrates that Plaintiff’s
                    7     alleged amount in controversy is at least $5,475,768 and therefore above the
                    8     minimum threshold of $5,000,000, as established by analyzing just three of
                    9     Plaintiff’s ten causes of action. Plaintiff’s other seven causes of action, including
                10        for failure to pay overtime, failure to provide rest breaks, failure to pay minimum
                11        wages, failure to reimburse business expenses, failure to timely pay wages during
                12        employment, failure to keep requisite payroll records, and unfair business practices
                13        would increase the amount in controversy even further beyond the jurisdictional
                14        minimum of $5,000,000
                15                          4.    The Complaint Also Seeks Recovery Of Attorneys’ Fees
                                                  That Courts May Consider for Determining the Amount in
                16                                Controversy.
                17                 35.      Plaintiff seek to recover attorneys’ fees under various provisions of the
                18        Labor Code, including under Labor Code section 226. Compl. ¶¶ 55, 79, 117
                19        Prayer for Relief ¶¶ 8, 15, 27, 51, 56. Although Tiffany and Company denies
                20        Plaintiff’s claim for attorneys’ fees, future attorneys’ fees are properly included in
                21        determining the amount in controversy, including for class actions seeking fees
                22        under Labor Code Section 226. See Fritsch v. Swift Transportation Co. of Arizona,
                23        LLC, 899 F.3d 785, 793-94 (9th Cir. 2018) (“Because the law entitles [the plaintiff]
                24        to an award of attorneys’ fees if he is successful, such future attorneys’ fees are at
                25        stake in the litigation, and must be included in the amount in controversy.”). Courts
                26        in the Ninth Circuit “have treated a potential 25% fee award as reasonable” in wage
                27        and hour class actions removed under CAFA. See Anderson v. Starbucks Corp.,
                28        2020 WL 7779015, at *4 (N.D. Cal. Dec. 31, 2020).
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 ATTORNEYS AT LAW
                                                                                     DEFENDANT’S NOTICE OF REMOVAL
   COSTA MESA

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                    1              36.      Therefore, although Tiffany and Company has plausibly alleged that
                    2     the amount in controversy without attorneys’ fees exceeds $5,000,000, the
                    3     inclusion of attorneys’ fees as allowed by Ninth Circuit law further increases the
                    4     amount in controversy above the minimum threshold for CAFA jurisdiction.
                    5     IV.      VENUE
                    6              37.      This action was originally filed in Los Angeles County Superior Court.
                    7     Initial venue is therefore proper in this district, pursuant to 28 U.S.C. § 1441(a),
                    8     because it encompasses the county in which this action has been pending.
                    9     V.       NOTICE
                10                 38.      Tiffany and Company will promptly serve this Notice of Removal on
                11        all parties and will promptly file a copy of this Notice of Removal with the clerk of
                12        the state court in which the action is pending, as required under 28 U.S.C. §
                13        1446(d).
                14        VI.      CONCLUSION
                15                 39.      Based on the foregoing, Tiffany and Company respectfully requests
                16        that this action be removed to this Court. If any question arises as to the propriety
                17        of the removal of this action, Tiffany and Company respectfully requests the
                18        opportunity to present a brief and oral argument in support of its position that this
                19        case is subject to removal.
                20
                          Dated:            September 29, 2021           MORGAN, LEWIS & BOCKIUS LLP
                21
                22
                                                                         By /s/ Carrie A. Gonell
                23                                                          Carrie A. Gonell
                                                                            Nancy Nguyen
                24                                                          Mayra Negrete
                                                                            Attorneys for Defendant
                25                                                          TIFFANY AND COMPANY
                26
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 BOCKIUS LLP
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                       1                                   PROOF OF SERVICE
                       2                             Tim Bermejo v. Tiffany & Company
                       3

                       4           I am a resident of the State of California, employed in the County of Orange;
                             I am over the age of eighteen years and not a party to the within action; my business
                       5     address is 600 Anton Blvd., Suite 1800, Costa Mesa, California 92626.
                       6           On September 29, 2021, I served on the interested parties in this action the
                             within document(s) entitled:
                       7
                                       DEFENDANT'S NOTICE OF REMOVAL TO FEDERAL COURT
                       8

                       9       [ X ] BY MAIL: - by placing the document(s) listed above in a sealed envelope
                                     with postage thereon fully prepaid, in the United States mail at Costa Mesa,
                      10             California addressed as set forth below. I am readily familiar with the
                                     firm's practice of collection and processing correspondence for mailing.
                      11             Under that practice it would be deposited with the U.S. Postal Service on
                                     that same day with postage thereon fully prepaid in the ordinary course of
                      12             business. I am aware that on motion of the party served, service is
                                     presumed invalid if postal cancellation date or postage meter date is more
                      13             than one day after date of deposit for mailing in affidavit.
                      14
                                [ ] BY OVERNIGHT MAIL: By overnight courier, following ordinary
                      15            business practices for collection and processing of correspondence with
                                    said overnight mail service, and said envelope(s) will be deposited with
                      16            said overnight mail service on said date in the ordinary course of business.
                      17
                                [ ] BY PERSONAL SERVICE: I delivered to an authorized courier or
                      18            driver authorized by First Legal Support to receive documents to be
                                    delivered on the same date. A proof of service signed by the authorized
                      19            courier will be filed with the court upon request.
                      20        [ ] BY ELECTRONIC SERVICE: by transmitting via e-mail or electronic
                                    transmission pdf document(s) listed above to the person(s) at the e-mail
                      21            address(es) set forth below on September 29, 2021. The transmission was
                                    reported as complete and without error. My e-mail address is
                      22            brandy.george@morganlewis.com.
                      23        [ ] BY E-FILE SERVICE: the parties listed below were served
                                    electronically THROUGH ONE LEGAL with the document(s) listed
                      24            above by e-mailed PDF files on September 29, 2021. The transmission
                                    was reported as complete and without error. My electronic notification
                      25            address is 600 Anton Boulevard, Suite 1800, Costa Mesa, California
                                    92626. My e-mail address is cindy.hachiya@morganlewis.com.
                      26

                      27

                      28
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  B OCKIUS LLP                                                 PROOF OF SERVICE
 ATTO RNEY S AT LAW
                            DB2/ 41576366.1
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                       1     LAWYERS FOR JUSTICE, PC
                       2     Edwin Aiwazian
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                             Fax: 818.265.1021
                       5     Email: edwin@calljustice.com
                       6     Attorneys for Plaintiff
                       7     TIM BERMEJO

                       8           [ ] STATE: I declare under penalty of perjury, under the laws of the State
                             of California, that the above is true and correct.
                       9
                                    [ X ] FEDERAL: I declare that I am employed in the office of a member
                      10     of the Bar of this Court at whose direction this service was made.
                      11              Executed on September 29, 2021, at Costa Mesa, California.
                      12

                      13                                                           Cindy J. Hachiya
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